            Case 5:19-cv-01139-FB Document 1 Filed 09/20/19 Page 1 of 4

                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

CATHERINE FARRIS                               §
                                               §
VS.                                            §                      C.A.NO. 5:19-cv-1139
                                               §
WAL-MART STORES TEXAS, LLC                     §                           JURY DEMANDED

              NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441

TO THE CLERK OF THE ABOVE ENTITLED COURT:

       Please take notice that Defendant, Wal-Mart Stores Texas, LLC, hereby removes to the

Court the state action described below.

       1.      On August 15, 2019, a civil action was commenced, in the 150th Judicial District

Court of Bexar County, Texas, entitled Catherine Farris v. Wal-Mart Stores Texas, LLC, Cause

No, 2018C116601. A copy of Plaintiffs Original Petition and Discovery Requests is attached

hereto as Exhibit A.

       2.      Service of summons and complaint was made on Defendant, Wal-Mart Stores

Texas, LLC by certified mail on August 23, 2019. Defendant, Wal-Mart Stores Texas, LLC first

received a copy of said Petition on August 29, 2018. A copy of the Citation is attached hereto as

Exhibit B.

       3.      Defendant, Wal-Mart Stores Texas, LLC has filed an Original Answer, which is

attached as Exhibit C, a Demand for Jury Trial, which is attached as Exhibit D and a Notice of

Filing of Removal to Federal Court, attached as Exhibit E. Defendant, Wal-Mart Stores Texas,

LLC has attached all process, pleadings, and orders in the State Court action as required by 28

U.S.C. 1446(a).
             Case 5:19-cv-01139-FB Document 1 Filed 09/20/19 Page 2 of 4

                                 JURISDICTION AND VENUE

       4.       The action is a civil action of which this Court has original jurisdiction under Title

28 U.S.C. § 1332 (Diversity Jurisdiction), and is one which may be removed to this Court pursuant

to Title 28 U.S.C. § 1441. There is complete diversity of citizenship amongst the parties.

Defendant, Wal-Mart Stores Texas, LLC is a limited liability company formed under the laws of

Delaware, with its principal place of business in Arkansas. The sole member of Wal-Mart Stores

Texas, LLC is Wal-Mart Real Estate Business Trust. Wal-Mart Real Estate Business Trust is a

Delaware statutory trust with its principal place of business in Arkansas. The sole unit holder of

Wal-Mart Real Estate Business Trust is Wal-Mart Property Co. which is a wholly owned

subsidiary of Wal-Mart Stores East, LP. Wal-Mart Property Co. is a corporation formed under the

laws of the State of Delaware with its principal place of business in the State of Arkansas.

Wal-Mart Stores East, LP is a Delaware limited partnership, of which WSE Management, LLC is

the general partner, and WSE Investment, LLC is the limited partner. WSE Management, LLC is

a Delaware limited liability company, and has its principal place in Bentonville, Arkansas. WSE

Investment, LLC is a Delaware limited liability company, and has its principal place in

Bentonville, Arkansas. The sole member of WSE Management, LLC and WSE Investment, LLC

is Wal-Mart Stores East, LLC. (f/k/a Wal-Mart Stores East, Inc.), whose parent company is

Walmart Inc. (f/k/a Wal-Mart Stores, Inc.). Wal-Mart Stores East, LLC is a limited liability

company formed under the laws of the State of Arkansas, and has its principal place of business in

the State of Arkansas. The sole member of Wal-Mart Stores East, LLC is Walmart Inc. (f/k/a

Wal-Mart Stores, Inc.). Walmart Inc. (f/k/a Wal-Mart Stores, Inc.) is a corporation incorporated

in the State of Delaware, with its principal place of business in Arkansas. Plaintiff is a citizen of

Tennessee, with her residence in Sumner County, Tennessee.

        5.       The amount in controversy exceeds the sum of Seventy-five Thousand Dollars

($75,000.00), exclusive of interest and costs. Seepage 4 of Plaintiff's Original Petition.
            Case 5:19-cv-01139-FB Document 1 Filed 09/20/19 Page 3 of 4

       6.      Venue is proper in the Western District of Texas, San Antonio Division because

this District and Division embrace the place in which the action is pending.

                                             Dated; September 20, 2019

                                             Respectfully submitted,

                                             Daw & Ray
                                             A Limited Liability Partnership

                                               /s! wirru (Ben Daw, III
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                                             James K. Floyd; TBN; 24047626
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                                             (210) 224-3121 Telephone
                                             (210) 224-3188 Facsimile

                                             ATTORNEYS FOR DEFENDANT




                                CERTIFICATE OF SERVICE

        The undersigned does hereby certify that a true and correct copy of the above and
foregoing instrument has been served upon all known counsel of record by electronic service on
this the 20th day of September, 2019.

Andrew E. Toscano                                             Email: atoscano@genetoscano. corn
GENE TOSCANO, INC.
846 Culebra, Ste. 104
San Antonio, Texas 78201-6244


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                                              Willie Ben Daw, III
        Case 5:19-cv-01139-FB Document 1 Filed 09/20/19 Page 4 of 4

                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

CATHERINE FARRIS                            §
                                            §
VS.                                         §                     C.A.NO.________
                                            §
WAL-MART STORES TEXAS, LLC                  §                       JURY DEMANDED

            INDEX OF DOCUMENTS FILED WITH REMOVAL ACTION


      (A)   Plaintiffs Original Petition and Discovery Requests

      (B)   Citation

      (C)   Defendant's Original Answer

      (D)   Defendant's Demand for Jury Trial

      (E)   Notice of Filing of Removal to Federal Court

      (F)   List of Counsel of Record
